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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION
                                    Case No. 0:21-cv-60825-RAR


    UNITED STATES OF AMERICA,

               Plaintiff,

               v.

    ROGER J. STONE, et al.;

               Defendants.



                                [PROPOSED] CONSENT JUDGMENT

          Upon review of the Joint Motion for Entry of Judgment, ECF No. __, the Court orders that

   the motion be GRANTED and:

          (1) Judgment is entered against Roger and Nydia Stone jointly and severally in the amount

   of $1,657,808.63 as of July 12, 2022 for their unpaid income taxes, penalties, and interest for tax

   years 2007 through 2011, plus interest thereon as provided by 26 U.S.C. §§ 6601, 6621, and 6622

   and any other statutory additions provided by law, less any payments or credits processed prior to

   the date of this judgment;

          (2) Judgment is entered against Roger Stone in the amount of $453,498.54 as of July 12,

   2022 for his unpaid income tax, penalties, and interest for tax year 2018, plus interest thereon as

   provided by 26 U.S.C. §§ 6601, 6621, and 6622 and any other statutory additions provided by law,

   less any payments or credits processed prior to the date of this judgment;

          (3) The assets of the Bertran Family Revocable Trust, including the full extent of its interest

   in the Stone Residence, are available to satisfy judgments against Nydia Stone;
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          (4) Tax liens that arose upon assessment of the taxes owed by Roger and Nydia Stone are

   valid and enforceable against all of the property held by Roger Stone; Nydia Stone; and the Bertran

   Family Revocable Trust, including the Stone Residence;

          (5) The United States’ claims against Drake Ventures LLC are dismissed without prejudice.

   Also, the United States’ Counts III (Alter Ego Liability), IV (Fraudulent Transfer) and V (Nominee

   Liability) are dismissed without prejudice;

          (5) Each party shall bear its own costs and attorneys’ fees.



   ENTERED this ___ day of __________, 2022.



                                                 __________________________
                                                 U.S. District Judge


   Copies furnished:
   All counsel of record
